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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                      www.flsb.uscourts.gov

 In re: Jimmy Steve Autran                       Case No. 18-11146-LMI
                                                 Chapter 13

                             Debtor                 /

         OBJECTION TO CLAIM BY BOSCO CREDIT II TRUST SERIES 2010-1

             IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                               TO YOUR CLAIM

       This objection seeks either to disallow or reduce the amount or change the
priority status of the claim filed by you or on your behalf. Please read this
objection carefully to identify which claim is objected to and what disposition of
your claim is recommended. Upon the filing of this objection an expedited
hearing on this objection will be scheduled on the date already scheduled for the
confirmation hearing in accordance with Local Rule 3007-1(B)(2).

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor objects
to the following claim filed in this case:

Debtor, Jimmy Steve Autran, by and through undersigned counsel, object to secured
claim no. 5 in the amount of $97,959.46 with an arrearage amount of $30,281.13 by
Bosco Credit II Trust Series 2010-1 c/o Franklin Credit Management Corp., P.O. Box
2301, Jersey City, NJ 07303-2301; Debtor objects to claim no. 5 on the basis that the
claim is barred by the statute of limitations. Claim no. 5 should be disallowed and
stricken.

The undersigned acknowledges that this objection and the notice of hearing for this
objection will be served on the claimant and the debtor at least 14 days prior to the
confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
1(F) must be filed with the court when the objection and notice of hearing are served.

 Date: July 15, 2018                             Rodriguez Law, PL
                                                 900 West 49 Street, Suite 505
                                                 Hialeah, FL 33012
                                                 Tel: 305-262-8226
                                                 Fax: 305-262-8229

                                                 /s/ Ricardo A Rodriguez
                                                 Ricardo A Rodriguez
                                                 Florida Bar no. 0496901




LF-70 (rev. 12/01/09)
